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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )         4:08CR3177
                                               )
                    Plaintiff,                 )
                                               )
       vs.                                     )
                                               )         ORDER
JOHN H. SUTTON,                                )
                                               )
                    Defendant.                 )

       IT IS ORDERED that:

       (1)   The government’s unopposed motion to continue sentencing (filing 62) is
granted.

       (2)    Defendant Sutton’s sentencing is continued to Thursday, June 18, 2009, at
12:00 noon, before the undersigned United States district judge, in Courtroom No. 1, United
States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska. The
defendant shall be present unless excused by the court.

       May 29, 2009.                        BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
